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                                IN THE UNITED STATES DISTRICT COURT
                                FOR THE SOUTHERN DISTRICT OF TEXAS

JOHN HANCOCK LIFE INSURANCE                                              )
COMPANY (U.S.A.) f/k/a John Hancock                                      )
Life Insurance Company                                                   )
                                                                         )
                                          Plaintiff,                     )
                                                                         )
          v.                                                             )          Case No. 4:18-CV-02869
                                                                         )
THE ESTATE OF JENNIFER LAUREN                                            )
WHEATLEY, et al.                                                         )
                                                                         )
                                          Defendants.                    )

   ORDER DENYING THE ESTATE OF JENNIFER LAUREN WHEATLEY’S CLAIM
            FOR ATTORNEY’S FEES AGAINST JOHN HANCOCK

          CAME ON FOR CONSIDERATION in the above-styled and numbered case (the

“Litigation”) Plaintiff John Hancock Life Insurance Company (U.S.A.) f/k/a John Hancock Life

Insurance Company’s (“John Hancock”) Response in Opposition to Defendant’s Brief in Support

of its Claim for Attorneys’ Fees (the “Brief”) filed by Defendant, The Estate of Jennifer Lauren

Wheatley’s (the “Wheatley Estate”).

          The Court, having considered the Brief; any response or reply briefs, exhibits, and

attachments; the record in the Litigation, other pertinent documents, and any pertinent statutory

or caselaw, rules, regulations, or other materials, finds that the Claim does not have merit. It is,

therefore, ordered that

               I. Defendant’s Claim for Attorneys’ Fees is DENIED in its entirety.

          SO ORDERED this ___ day of __________________ 2020.




                                                                        UNITED STATES DISTRICT JUDGE



                                                                                                             Page 1 of 1
Order Denying The Estate of Jennifer Lauren Wheatley’s Claim for Attorney’s Fees Against John Hancock
